                  Case 2:08-cr-00332-JCM-GWF             Document 349         Filed 02/22/11      Page 1 of 2



                  1
                  2
                  3
                  4
                                                    UNITED STATES DISTRICT COURT
                  5
                                                          DISTRICT OF NEVADA
                  6
                                                                      2:08-CV-332 JCM (GWF)
                  7     UNITED STATES OF AMERICA,

                  8                    Plaintiff,
                  9     v.
                10
                        DWIGHT RAMON POLLARD,
                11
                                       Defendant.
                12
                13
                14                                                 ORDER
                15           Presently before the court is the matter of United States v. Pollard, (2:08-cr-332-JCM-GWF).
                16           On February 16, 2011, this court sentenced defendant Dwight Ramon Pollard on count six
                17    of the second superseding indictment and on count one of the information. On February 22, 2011,
                18    the court held a hearing pursuant to Federal Rule of Criminal Procedure 35(c) to correct the sentence
                19    and allow Mr. Pollard to reside in a halfway house.
                20           Accordingly,
                21           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Dwight Ramon
                22    Pollard be sentenced to credit for time served on both count six (6) of the second superseding
                23    indictment and count one (1) of the information;
                24           IT IS FURTHER ORDERED that defendant Dwight Ramon Pollard be sentenced to one (1)
                25    year supervised release on both counts, to run concurrently;
                26           IT IS FURTHER ORDERED that, among other conditions imposed at the February 16, 2011,
                27    sentencing, defendant Dwight Ramon Pollard reside at and participate in a program of a residential
                28
James C. Mahan
U.S. District Judge
                  Case 2:08-cr-00332-JCM-GWF            Document 349       Filed 02/22/11     Page 2 of 2



                  1   re-entry center for a period of up to three (3) months as approved and directed by the probation
                  2   officer.
                  3              DATED February 22, 2011.
                  4
                  5
                                                            UNITED STATES DISTRICT JUDGE
                  6
                  7
                  8
                  9
                10
                11
                12
                13
                14
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25
                26
                27
                28
James C. Mahan
U.S. District Judge                                                -2-
